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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA

        Plaintiff,
                                                           Case No. 1:25-cv-496
 v.
                                                           HON. JANE M. BECKERING
 STATE OF MICHIGAN, et al.,

        Defendants.
 ____________________________/


                                          ORDER

       Pending before the Court is a June 20, 2025 Motion to Dismiss filed by Defendants (ECF

No. 6). On July 11, 2025, Plaintiff filed an Amended Complaint (ECF No. 8). Because the

Amended Complaint supersedes Plaintiff’s earlier complaint, the Motion to Dismiss the earlier

Complaint is moot. See In re Refrigerant Compressors Antitrust Litig., 731 F.3d 586, 589 (6th

Cir. 2013).

       Accordingly:

       IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss (ECF No. 6) is

DISMISSED as moot.



Dated: July 15, 2025                                      /s/ Jane M. Beckering
                                                         JANE M. BECKERING
                                                         United States District Judge
